                                        No. 24-3521

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  IN THE UNITED STATES COURT OF APPEALS FOR THE EIGHTH CIRCUIT

                       _________________________________________

                                STATE OF KANSAS, et al.,

                                    Plaintiffs-Appellees,

                                             v.

                         UNITED STATES OF AMERICA, et al.,

                                  Defendants-Appellants.

                       _________________________________________

                     On Appeal from the United States District Court
                            for the District of North Dakota
                       _________________________________________

     NOTICE OF PLAINTIFF-APPELLEES’ INTENT TO FILE RESPONSE TO
        DEFENDANTS-APPELLANTS’ EMERGENCY MOTION FOR AN
           ADMINISTRATIVE STAY AND STAY PENDING APPEAL

      Plaintiff-Appellee, State of Kansas, hereby notifies the Court that it intends to file a

response in opposition to Defendant-Appellants’ Emergency Motion for an Administrative

Stay and Stay Pending Appeal on or before December 19, 2024, unless the Court orders

otherwise.

                                                            Respectfully submitted,


                                                            KRIS W. KOBACH
                                                            Attorney General of Kansas

                                                            /s/ Abhishek S. Kambli
                                                            Abhishek S. Kambli
                                                            Deputy Attorney General
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                              CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2024, I electronically filed the foregoing notice

with the Clerk of the Court for the United States Court of Appeals for the Eighth Circuit

by using the appellate CM/ECF system. Participants in the case are registered CM/ECF

users, and service will be accomplished by the appellate CM/ECF system.



                                                          /s/ Abhishek S. Kambli
                                                          Abhishek S. Kambli




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